UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION

STEVEN MICK, )
)

Plaintiff, ) Case No. 4:19-cv-03128-MTS
)
vs. )
)
JEFF MOLKENTIN and )
C.R. ENGLAND, INC., )
)
Defendants. )

JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

COME NOW Plaintiff Steven Mick and Defendants Jeff Molkentin and C.R. England, Inc.,

and hereby stipulate and agree that Plaintiff's cause of action against Defendants may be dismissed

with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). Each party to bear their own costs.

/s/ Andrew H. Marty

/s/ Kevin L. Fritz (with consent)

 

Andrew H. Marty, #37158MO

Evan Bettag, #60932MO
CHASSANOIL & MARTY, LLC
5301 Veterans Memorial Pkwy, #201
St. Peters, MO 63376

Phone: (636) 486-4861

Fax: (636) 922-0994

Email: andy@trialstl.com

Email: evan@trialstl.com

Attorneys for Plaintiff Steven Mick
Dated: , 2022

IT IS SO ORDERED:

 

Judge

Kevin L. Fritz #41638
Daniel K. Mannion #50627
LASHLY & BAER, P.C.

714 Locust Street

St. Louis, MO 63101

(314) 621-2939 (Telephone)
(314) 621-6844 (FAX)
klfritz@lashlybaer.com
dmannion@lashlybaer.com

Attorneys for Defendants

 
